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               IN THE UNITED STATES DISTRICT COURT
             FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                         JACKSON DIVISION

OLIVIA Y., et al.,                            )
                                              )
       Plaintiffs,                            )
                                              )
v.                                            )              3:04-CV-251-HSO-FKB
                                              )
TATE REEVES, as Governor of the               )
State of Mississippi, et al,                  )
                                              )
       Defendants.                            )


     MOTION FOR AWARD OF CLASS COUNSEL’S FEES AND EXPENSES

       Plaintiffs respectfully move this Court for an order granting them attorneys’

fees and expenses in the amount of $99,466.92 for the monitoring and enforcement of

the Second Modified Mississippi Settlement Agreement and Reform Plan (“MSA,”

Dkt. No ), from January 1, 2021 through June 30, 2021. This motion is brought under

42 U.S.C. § 1988 and Federal Rule of Civil Procedure 54. This motion is supported

by the accompanying Memorandum of Law in Support of Plaintiffs’ Motion for Award

of Class Counsel’s Fees and Expenses, which is filed contemporaneously with and

incorporated by reference into this motion.       Plaintiffs also submit the following

exhibits in support of this motion:

       Exhibit 1: Declaration of Marcia Robinson Lowry (with Attachments A, B, C,

D, E, F, G, H)

       Exhibit 2: Declaration of Anastasia Benedetto (with Attachment A)

       Exhibit 3: Declaration of Jonathan Borle (with Attachment A)




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      Exhibit 4: Declaration of Michael Bentley (with Attachment A, B, and C)

      Exhibit 5: Declaration of Rob McDuff

      As explained in full in Plaintiffs’ accompanying memorandum of law and the

supporting Declarations, the fees and expenses that Plaintiffs seek this monitoring

period were reasonable and necessary to the representation of the Class.         The

requirements for a finding that the fees and expenses were reasonable and necessary

are amply detailed in the accompanying supporting documents.



Respectfully submitted, this 1st day of December, 2021.




                                /s/Marcia Robinson Lowry
                                Marcia Robinson Lowry (pro hac vice)
                                Anastasia Benedetto (pro hac vice)
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                          CERTIFICATE OF SERVICE

      I, Marcia Robinson Lowry, an attorney for Plaintiffs Olivia Y. et al., certify that

on December 1, 2021, I electronically filed the foregoing with the Clerk of the Court

using the CM/ECF system, which will send notification of such filing to all counsel of

record.


                                         /s/Marcia Robinson Lowry
                                         Attorney for Plaintiffs Olivia Y. et al.




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